103 F.3d 117
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Arnold CULBREATH, Petitioner--Appellant,v.Travis MEDLOCK;  State of South Carolina, Respondents--Appellees.
    No. 96-7163.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 5, 1996.Decided Nov. 19, 1996.
    
      Arnold Culbreath, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before HALL and NIEMEYER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Arnold Culbreath, a South Carolina inmate, filed an untimely notice of appeal of the dismissal of his petition for relief under 28 U.S.C. § 2254.  We dismiss for lack of jurisdiction.  The time periods for filing notices of appeal are governed by Fed.  R.App. P. 4.  These periods are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Parties to civil actions have thirty days within which to file in the district court notices of appeal from judgments or final orders.  Fed. R.App. P. 4(a)(1).  The only exceptions to the appeal period are when the district court extends the time to appeal under Fed.  R.App. P. 4(a)(5) or reopens the appeal period under Fed.  R.App. P. 4(a)(6).
    
    
      2
      The district court entered its order on September 12, 1995;  Appellant's notice of appeal was filed on July 18, 1996.  Appellant's failure to note a timely appeal or obtain either an extension or a reopening of the appeal period leaves this court without jurisdiction to consider the merits of Appellant's appeal.  We therefore deny a certificate of appealability and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    